 1   David H. Leigh (WSBA NO. 40031)                        Honorable Whitman L. Holt
     RAY QUINNEY & NEBEKER P.C.                                           Chapter 11
 2   36 South State Street, Suite 1400
     P.O. Box 45385
 3   Salt Lake City, UT 84145-0385
     Telephone: (801) 532-1500
 4   Facsimile: (801) 532-7543
     Email: dleigh@rqn.com
 5
     Attorneys for Rabo AgriFinance LLC
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 7

 8                       UNITED STATES BANKRUPTCY COURT
 9          EASTERN DISTRICT OF WASHINGTON (SPOKANE/YAKIMA)
10

11   IN RE:                                         CASE NO. 21-00141-WLH11
12
     EASTERDAY RANCHES, INC.,                     NOTICE OF APPEARANCE OF
13                                                 COUNSEL AND REQUEST
14         Debtor and Debtor in                         FOR NOTICE
           Possession.
15

16         Pursuant to Rules 2002 and 9010(b) of the Federal Rules of Bankruptcy
17   Procedure, David H. Leigh of the law firm of Ray Quinney & Nebeker P.C. hereby
18   enters his appearance as counsel of record for Rabo AgriFinance LLC (“Rabo”), a
19   party in interest in the above-captioned chapter 11 case (the “Bankruptcy Case”),
20   requests that his name be included on the master mailing list in this case, and
21   further requests that notices of all hearings or actions in this case and copies of all
22   motions, documents, or other papers filed by any party in interest in this case—
23   including the Debtor, any subsequently-appointed chapter 11 trustee, any
24   Committee of Unsecured Creditors, and/or the U.S. Trustee—be sent to the
25   following:
26
     NOTICE OF APPEARANCE OF                             Ray Quinney & Nebeker P.C.
     COUNSEL AND REQUEST FOR                               36 South State Street, Ste. 1400
     NOTICE                                                   Salt Lake City, UT 84111
                                                             Telephone: (801) 532-1500

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 1                                   David H. Leigh, Esq.
 2
                               RAY QUINNEY & NEBEKER P.C.
                                36 South State Street, 14th Floor
 3                             Salt Lake City, Utah 84145-0385
 4                                Telephone: (801) 532-1500
                                  Facsimile: (801) 532-7543
 5                                  E-mail: dleigh@rqn.com
 6
           PLEASE TAKE FURTHER NOTICE that the foregoing request for
 7
     notice shall include notices by mail, telephone, facsimile, or any other means of
 8
     electronic transmission, and the notices requested shall include, but are not limited
 9
     to, all notices relating to the matters set forth in Fed. R. Bankr. P. 2002; matters
10
     relating to any hearing for conversion or dismissal under 11 U.S.C. § 1112; matters
11
     relating to adequate protection pursuant to 11 U.S.C. § 361; matters relating to the
12
     assumption or rejection of any executory contract or unexpired lease under
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     11 U.S.C. § 365; matters relating to the use, sale, or lease of estate property
14
     pursuant to 11 U.S.C. § 363; and/or matters relating to the filing, contents,
15
     confirmation, and modification of any proposed disclosure statement and/or
16
     chapter 11 plan of reorganization.
17
           PLEASE TAKE FURTHER NOTICE that this Notice of Appearance of
18
     Counsel and Request for Notice or any pleading, claim, proof of claim, or suit filed
19
     by Rabo is not intended nor shall be deemed to in any way to waive, where
20
     applicable, (i) Rabo’s right (a) to have final orders in any core or noncore matters
21
     entered only after de novo review by a district court judge to the extent required by
22
     the United States Supreme Court’s rulings of Stern v. Marshall, 131 S. Ct. 2594
23
     (2011) and Executive Benefits Ins. Agency v. Arkison (In re Bellingham Ins.
24
     Agency), 134 S. Ct. 2165 (2014), any subsequent case law, and/or as otherwise
25
     required by the U.S. Constitution; (b) to a trial by jury in any proceedings so triable
26
     NOTICE OF APPEARANCE OF                             Ray Quinney & Nebeker P.C.
     COUNSEL AND REQUEST FOR                               36 South State Street, Ste. 1400
     NOTICE                               -2-                 Salt Lake City, UT 84111
                                                              Telephone: (801) 532-1500
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 1
     herein or in any case, controversy, or proceeding related hereto; and (c) to have the
 2
     reference withdraw by the United States District Court in any matter subject to
 3
     mandatory or discretionary withdrawal; and/or (ii) any other right, claim, action,
 4
     defense, setoff, or recoupment, all of which are hereby expressly reserved.
 5
           DATED this 5th day of February, 2021.
 6

 7                             RAY QUINNEY & NEBEKER P.C.
 8

 9                              /s/ David H. Leigh
10                             David H. Leigh
                               Attorneys for Rabo AgriFinance LLC
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                                                             Telephone: (801) 532-1500
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on the 5th day of February, 2021, I electronically filed
 3
     the foregoing with the Clerk of the Court the CM/ECF System, which served
 4

 5   notice and/or a copy of the foregoing on all electronic filing users in this case.

 6         Matt Adamson madamson@jpclaw.com
 7         Jason M Ayres jason.ayres@foster.com, kesarah.rhine@foster.com
           William Brunnquell brunnquellw@lanepowell.com
 8         Thomas A Buford tbuford@bskd.com,
 9         psutton@bskd.com,vbraxton@bskd.com,mbeck@bskd.com
           Gary W Dyer Gary.W.Dyer@usdoj.gov
10         Gregory R Fox FoxG@Lanepowell.com,
11         norbya@lanepowell.com;Docketing-Sea@lanepowell.com
           David P Gardner dpg@winstoncashatt.com
12         Nancy L Isserlis nli@winstoncashatt.com,
13         jlm@winstoncashatt.com;azh@winstoncashatt.com
           Richard B Keeton rkeeton@bskd.com,
14         psutton@bskd.com,vbraxton@bskd.com,mbeck@bskd.com
15         Armand J Kornfeld jkornfeld@bskd.com,
           chartung@bskd.com;psutton@bskd.com;vbraxton@bskd.com;
16         mbeck@bskd.com
17         Michael J Paukert mpaukert@pt-law.com
           Trevor R Pincock tpincock@lukins.com, mlove@lukins.com
18         Tara J. Schleicher tara.schleicher@foster.com, kesarah.rhine@foster.com
19         Alan D Smith adsmith@perkinscoie.com
           Claire Taylor claire.taylor@stokeslaw.com, aek@stokeslaw.com
20         US Trustee USTP.REGION18.SP.ECF@usdoj.gov I hereby further
21

22

23

24

25

26
     NOTICE OF APPEARANCE OF                             Ray Quinney & Nebeker P.C.
     COUNSEL AND REQUEST FOR                               36 South State Street, Ste. 1400
     NOTICE                               -4-                 Salt Lake City, UT 84111
                                                              Telephone: (801) 532-1500
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 1         I also certify that on the same date I served a true and correct copy of the
 2
     foregoing upon the following in the manner indicated below:
 3

 4   By U.S. Mail                               By U.S. Mail and Email
     U.S. TRUSTEE                               GARY W. DYER
 5   UNITED STATES TRUSTEE                      US TRUSTEE’S OFFICE
     US COURT HOUSE                             920 W. RIVERSIDE AVE STE 593
 6   920 W. RIVERSIDE AVE STE 593               SPOKANE WA 99201
     SPOKANE WA 99201                           Gary.W.Dyer@usdoj.gov
 7

 8   By U.S. Mail and Email                     By U.S. Mail
 9   THOMAS A. BUFORD                           EASTERDAY RANCHES, INC.
     BUSH KORNFELD LLP                          5235 N. INDUSTRIAL WAY
10   601 UNION STREET, SUITE 5000
     SEATTLE, WA 98101                          PASCO, WA 99301
11   tbuford@bskd.com
12

13

14
                                                   /s/    Suzanne Williams
15

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26
     NOTICE OF APPEARANCE OF                             Ray Quinney & Nebeker P.C.
     COUNSEL AND REQUEST FOR                               36 South State Street, Ste. 1400
     NOTICE                              -5-                  Salt Lake City, UT 84111
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